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 6                              UNITED STATES DISTRICT COURT

 7                              EASTERN DISTRICT OF CALIFORNIA

 8   UNITED STATES OF AMERICA,                Case No. 1:16-CR-00169-DAD-BAM

 9                 Plaintiff,                 ORDER SETTING DISCOVERY CUT-OFF

10          v.

11   OMAR GONZALEZ VEGA,

12                 Defendant.

13

14                                            Case No. 1:16-CR-00170-DAD-BAM
     UNITED STATES OF AMERICA,
15
                   Plaintiff,
16
            v.
17
     CHARLIE STEVENSON and DARIAN
18   HATCHER,
                 Defendants.
19
                                              Case No. 1:16-CR-00172-DAD-BAM
20   UNITED STATES OF AMERICA,
21                 Plaintiff,
22          v.
23   JAMAR JOHNSON,
24                 Defendant.
25                                            Case No. 1:16-CR-00173-DAD-BAM
26   UNITED STATES OF AMERICA,
27                 Plaintiff,
28          v.
     Case 1:16-cr-00174-DAD-BAM Document 37 Filed 10/13/17 Page 2 of 4


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 2   KHALIF CAMPBELL, et al.,
 3                    Defendants.
 4                                        Case No. 1:16-CR-00174-DAD-BAM
     UNITED STATES OF AMERICA,
 5
                    Plaintiff,
 6
            v.
 7
     ANTHONY THOMAS and DEVONE
 8   JOHNSON,
                Defendants.
 9
                                          Case No. 1:16-CR-00175-DAD-BAM
10
     UNITED STATES OF AMERICA,
11
                    Plaintiff,
12
            v.
13
     DIONNE SINGLETON,
14
                    Defendant.
15
     UNITED STATES OF AMERICA,            Case No. 1:16-CR-00176-DAD-BAM
16
                    Plaintiff,
17
            v.
18
     DEJOHN WILEY, et al.,
19
                    Defendants.
20
     UNITED STATES OF AMERICA,            Case No. 1:16-CR-00187-BAM-DAD
21
                    Plaintiff,
22
            v.
23
     ROBERT GONZALEZ, et al.,
24
                    Defendants.
25
                                          Case No. 1:16-CR-00188-DAD-BAM
26   UNITED STATES OF AMERICA,
27                  Plaintiff,
28          v.
     Case 1:16-cr-00174-DAD-BAM Document 37 Filed 10/13/17 Page 3 of 4


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     ANTHONY RAMIREZ,
 2
                        Defendant.
 3
                                                      Case No. 1:16-CR-00189-DAD-BAM
 4   UNITED STATES OF AMERICA,
 5                      Plaintiff,
 6            v.
 7   JESUS VELAZQUEZ-JUAREZ,
 8                      Defendant.
 9                                                    Case No. 1:16-CR-00190-DAD-BAM
     UNITED STATES OF AMERICA,
10
                        Plaintiff,
11
              v.
12
     RASHAD HALFORD AND STEPHEN
13   HILL,
14                       Defendants.
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16           These matters came on for hearing on October 11, 2017, following the Court setting a
17   briefing schedule, to determine whether a discovery cut-off date should be set in the above cases
18   for disclosure of discovery by the Government. The parties and counsel are familiar with the
19   facts and procedure in these cases and the reason for the request by all defense counsel that a
20   discovery cut-off date be set.
21           Pursuant to the briefing schedule, the Government filed its Brief Regarding the
22   Establishment of a Discovery Cut-off Date in each of the above cases. Defendant Chris Wiley,
23   Case No. 16-176, and Defendant Khalif Campbell, Case No. 16-173, opposed the Government’s

24   request that a discovery cut-off date not be set. The Court heard oral argument on October 11,

25   2017 from counsel for the Government, Christopher Baker and Kimberly Sanchez, and from

26   counsel for Chris Wiley, W. Scott Quinlan. Having considered the moving, opposition and reply

27   papers, as well as the arguments of counsel and the entire record, the Court rules as follows.

28   /////
     Case 1:16-cr-00174-DAD-BAM Document 37 Filed 10/13/17 Page 4 of 4


 1          Discovery Cut-off Date
 2          All discovery by the Government shall be disclosed no later than 60 days before the
 3   initial trial date in the case. “Disclosure” means either production or making available to
 4   counsel. This discovery cut-off date does not apply to discovery of Jencks Act or impeachment of

 5   witness material.

 6          Other Requests for Relief

 7          In opposition to the Government’s brief, defendant Wiley and Campbell requested other

 8   forms of relief and sanctions. For the reasons stated on the Record, these requests are DENIED.

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10   IT IS SO ORDERED.

11      Dated:     October 12, 2017                          /s/ Barbara A. McAuliffe              _
12                                                     UNITED STATES MAGISTRATE JUDGE

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